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OAO 247 (02/08) Order Regarding Motion for Sentence Reduction


                                     UNITED STATES DISTRICT COURT
                                                                for the

                                            NORTHERN DISTRICT OF FLORIDA
                   United States of America                       )
                              v.                                  )
                    Raphael D. Nickerson                          ) Case No: 3:02cr5-007/LAC
                                                                  ) USM N o: 05274-017
Date of Previous Jud gment:     28 May 2002                       )
(Use Date of Last Amended Judgment if Applicable)                 ) Defendant’s Attorney

            Amended Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)

       Upon motion of : the defendant 9 the Director of the Bureau of Prisons 9 the court under 18 U.S.C.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion,
IT IS ORDERED that the motion is:
       9 DENIED. : GRANTED and the defendant’s previously imposed sentence of imprisonment (as reflected in
                    the last judgment issued) of 151        months is reduced to    121 months              .
I. COURT DETERMINATION OF GUIDELINE RANGE (Prior to Any Departures)
Previous Offense Level:        33               Amended Offense Level:                                        31
Criminal History Category:      I               Criminal History Category:                                     I
Previous Guideline Range:  135    to 168 months Amended Guideline Range:                               108         to 135 months
II. SENTENCE RELATIVE TO AMENDED GUIDELINE RANGE
: The reduced sentence is within the amended guideline range.
9 The previous term of imprisonment imposed was less than the guideline range applicable to the defendant at the time
   of sentencing as a result of a departure or Rule 35 reduction, and the reduced sentence is comparably less than the
   amended guideline range.
9 Other (explain):
III. ADDITIONAL COMMENTS



Except as provided above, all provisions of the judgment dated 28 May 2002                 shall remain in effect.
IT IS SO ORDERED.

Order Date:           19 May 2008                                                      s /L.A. Collier
                                                                                          Judge’s signature


Effective Date:                                                           Lacey A. Collier, Senior U.S. District Judge
                     (if different from order date)                                    Printed name and title
